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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
  Civil Action No. 1:16-cv-02355-RM-CBS
  CITY OF DEARBORN HEIGHTS ACT 345 POLICE & FIRE RETIREMENT SYSTEM,
  Individually and on Behalf of All Others Similarly Situated,

          Plaintiff,

  v.

  THE WHITEWAVE FOODS COMPANY,
  DANONE S.A.,
  JULY MERGER SUB INC.,
  GREGG L. ENGLES,
  JOSEPH S. HARDIN, JR.,
  STEPHEN L. GREEN,
  DOREEN A. WRIGHT,
  MICHELLE GOOLSBY,
  W. ANTHONY VERNON and
  ANTHONY J. MAGRO,

          Defendants.

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
   PURSUANT TO RULE 41(a)(1) OF THE FEDERAL RULES OF CIVIL PROCEDURE




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  TO:     ALL PARTIES AND THEIR COUNSEL OF RECORD
          WHEREAS, plaintiff City of Dearborn Heights Act 345 Police & Fire Retirement System

  (“Plaintiff”) filed this putative class action against the above-named defendants, on behalf of a class

  of similarly-situated shareholders of WhiteWave Foods Company (the “Company”) relating to the

  sale of the Company to Danone S.A.;

          WHEREAS, no defendant in this action has answered or filed for summary judgment; and

          WHEREAS, a class has not been certified in this action.

          NOW, THEREFORE, NOTICE IS HEREBY GIVEN that, pursuant to Federal Rules of Civil

  Procedure Rule 41 (a)(1), Plaintiff voluntarily dismisses its claims without prejudice.

  DATED: April 19, 2017                          ROBBINS GELLER RUDMAN
                                                  & DOWD LLP
                                                 RANDALL J. BARON
                                                 A. RICK ATWOOD, JR.
                                                 DAVID T. WISSBROECKER




                                                 A. RICK ATWOOD, JR.

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                                                 Lead Counsel for Plaintiff




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                                    Additional Counsel for Plaintiff




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                                     CERTIFICATE OF SERVICE
          I hereby certify that on April 19, 2017, I authorized the electronic filing of the foregoing with

  the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

  e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

  caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

  CM/ECF participants indicated on the attached Manual Notice List.

          I certify under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct. Executed on April 19, 2017.

                                                       s/ A. RICK ATWOOD, JR.
                                                       A. RICK ATWOOD, JR.

                                                       ROBBINS GELLER RUDMAN
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         Electronic Mail Notice List

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         Manual Notice List

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         therefore require manual noticing). You may wish to use your mouse to select and copy this list into your word
         processing program in order to create notices or labels for these recipients.

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